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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :   Criminal No. 1:21-CR-00618
                                          :
            v.                            :   (Judge Berman Jackson)
                                          :
RILEY JUNE WILLIAMS                       :   (Electronically Filed)

                                     ORDER


   AND NOW this ______ day of _____________, 2022, after consideration of

the Motion to Preclude Evidence or Testimony, IT IS HEREBY ORDERED that

the Motion is GRANTED. The government is precluded from introducing any

evidence or testimony at trial concerning Ms. Williams’ statements or references to

taking a gavel and/or a hard drive(s) from Speaker Pelosi’s office on January 6.



                                              BY THE COURT


                                              ________________________
                                              AMY BERMAN JACKSON
                                              United States District Judge




                                         7
